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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



UNITED STATES OF AMERICA,                     )       CASE NO. 1:08CR64 (defendant #4)
                                              )
                                              )      JUDGE PETER C. ECONOMUS
                       Plaintiff,             )      Magistrate Judge George J. Limbert
                                              )
               v.                             )
                                              )
D.N.A. SELESTEEN, INC.,                       )       REPORT AND RECOMMENDATION
dba GOLDCOAST FOOD MARKET                     )       OF MAGISTRATE JUDGE
                                              )
                       Defendant.             )


       Pursuant to General Order 99-49, this case was referred to United States Magistrate Judge

George J. Limbert for the purposes of receiving, on consent of the parties, Defendant’s offer of a

plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

of the proceedings to be prepared, referring the matter for presentence investigation, and submitting

a Magistrate Judge’s Report and Recommendation stating whether the plea should be accepted and

a finding of guilty entered. The following, along with the transcript or other record of the

proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

concerning the plea of guilty proffered by Defendant.

       1.      On February 27, 2008, Defendant D.N.A. Selesteen Inc., through its president, Maher

J. Ali, and accompanied by Attorney Angelo F. Lonardo, executed a Consent to Order of Referral

to Magistrate Judge for Purposes of Receiving Defendant’s Plea of Guilty.

       2.      On February 27, 2008, Defendant D.N.A. Selesteen, Inc., through its president,
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Maher J. Ali, and accompanied by Attorney Angelo F. Lonardo, executed a waiver of indictment

and consented to prosecution by information, which the undersigned approved.

        3.     On February 27, 2008, Defendant D.N.A. Selesteen, Inc., through its president,

Maher J. Ali, and accompanied by Attorney Angelo F. Lonardo, proffered a plea of guilty to the

Counts 1 and 2 in the Information filed on February 6, 2008. See ECF Dkt. #1.

        4.     Prior to such proffer, Maher J. Ali was examined as to his competency, advised of

the charges and consequences of conviction, informed that the Court is not bound to apply the

Federal Sentencing Guidelines but must consult the guidelines and take them into consideration

when it imposes the sentence, notified of the corporation’s rights, advised that the corporation was

waiving all of its rights except the right to counsel, and, if such were the case, the corporation’s

right to appeal, and otherwise provided with the information prescribed in Fed. Crim. R. 11.

        5.     The parties and counsel informed the Court that there was a written, signed plea

agreement between the parties. The undersigned was advised that no commitments or promises have

been made by any party, and no other agreements, written or unwritten, have been made between

the parties.

        6.     The undersigned questioned Maher J. Ali under oath about the knowing, intelligent,

and voluntary nature of the plea of guilty, and the undersigned believes that Maher J. Ali’s plea

made on behalf of Defendant D.N.A. Selesteen, Inc. was offered knowingly, intelligently, and

voluntarily.

        7.     The parties provided the undersigned with sufficient information about the charged

offenses and Defendant D.N.A. Selesteen, Inc.’s conduct to establish a factual basis for the plea.

        In light of the foregoing, and the record submitted herewith, the undersigned concludes that


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Defendant D.N.A. Selesteen, Inc.’s plea was knowing, intelligent, and voluntary and all

requirements imposed by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.

Accordingly, the undersigned recommends that the plea of guilty be accepted and a finding of guilty

be entered by the Court.



Date: February 27, 2008                                  /s/George J. Limbert
                                                       George J. Limbert
                                                       United States Magistrate Judge


       ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
Court within ten (10) days of service of this notice. Failure to file objections within the specified
time WAIVES the right to appeal the Magistrate Judge’s recommendation. See Thomas v. Arn,
474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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